     Case 1:21-mi-55555-JPB Document 548 Filed 05/17/23 Page 1 of 7




       IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION

IN RE GEORGIA SENATE BILL 202                      Master Case No.: 1:21-
                                                   MI-55555-JPB
GEORGIA STATE CONFERENCE OF THE
NAACP, et al.,                                     Civil Action No.: 1:21-
                                                   cv-01259-JPB
                        Plaintiffs,
                  v.

BRAD RAFFENSPERGER, in his official
capacity as the Secretary of State for the
State of Georgia, et al.,

                        Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,

                   Intervenor-Defendants.
SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH, et al.,                Civil Action No.: 1:21-
                                                   cv-01284-JPB
                        Plaintiffs,
                  v.
BRIAN KEMP, Governor of the State of Georgia,
in his official capacity, et al.,

                        Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,

                        Intervenor-Defendants.




                                      1
        Case 1:21-mi-55555-JPB Document 548 Filed 05/17/23 Page 2 of 7




   GEORGIA NAACP PLAINTIFFS’ MOTION FOR A PRELIMINARY
  INJUNCTION BASED ON IMMATERIAL VOTING REQUIREMENTS

       Pursuant to Rule 65 of the Federal Rules of Civil Procedure and 52 U.S.C.

Section 1010(a)(2)(A), Plaintiff Georgia State Conference of the NAACP, along

with all additional signatory Plaintiffs below in the above-captioned cases,

respectfully ask this Court to grant this motion for a preliminary injunction against

enforcement of SB 202’s immaterial voting requirement that voters include a correct

birthdate on absentee ballot return envelopes.           Plaintiffs request an order

preliminarily enjoining Defendants, their agents, officers, employees, successors

and all persons acting in concert with them from rejecting absentee ballots based on

any error or omission relating to Senate Bill 202’s requirement of birthdates on ballot

return envelopes, ordering the Secretary of State to issue guidance to all counties to

comply, and ordering the Secretary of State to count such ballots and refuse

certification of election results until all such ballots have been counted.

      Respectfully submitted, this 17th day of May, 2023.

 /s/ Bryan L. Sells                            /s/ Laurence F. Pulgram
 Bryan L. Sells                                Laurence F. Pulgram*
 Georgia Bar No. 635562                        lpulgram@fenwick.com
 THE LAW OFFICE OF BRYAN                       Molly Melcher*
 SELLS, LLC                                    mmelcher@fenwick.com
 PO Box 5493 Atlanta, Georgia 31107            Armen Nercessian*
 Tel: (404) 480-4212                           anercessian@fenwick.com
 Email: bryan@bryansellslaw.com                Ethan Thomas*
                                               ethomas@fenwick.com
 Jon Greenbaum*                                FENWICK & WEST LLP
 Ezra D. Rosenberg*

                                           2
      Case 1:21-mi-55555-JPB Document 548 Filed 05/17/23 Page 3 of 7




Julie M. Houk*                            555 California Street
Jennifer Nwachukwu*                       San Francisco, CA 94104
Heather Szilagyi*                         Telephone: 415.875.2300
jgreenbaum@lawyerscommittee.org
erosenberg@lawyerscommittee.org           Joseph S. Belichick*
jhouk@lawyerscommittee.org                jbelichick@fenwick.com
jnwachukwu@lawyerscommittee.org           FENWICK & WEST LLP
hszilagyi@lawyerscommittee.org            Silicon Valley Center
LAWYERS’ COMMITTEE FOR                    801 California Street
CIVIL RIGHTS UNDER LAW                    Mountain View, CA 94041-2008
1500 K Street NW, Suite 900               Telephone: 650-988-8500
Washington, D.C. 20005
Telephone: (202) 662-8600                 Catherine McCord*
Facsimile: (202) 783-0857                 cmccord@fenwick.com
                                          FENWICK & WEST LLP
Vilia Hayes*                              902 Broadway, Suite 14
Neil Oxford*                              New York, NY 10010
Gregory Farrell*                          Telephone: (212) 430-2690
HUGHES HUBBARD & REED LLP
One Battery Park Plaza New York,          *Admitted pro hac vice
New York 10004-1482
Telephone: (212) 837-6000                 Attorneys for Plaintiffs Georgia State
Facsimile: (212) 422-4726                 Conference of the NAACP, Georgia Coalition
                                          for the People’s Agenda, Inc., League of
                                          Women Voters of Georgia, Inc., GALEO
                                          Latino Community Development Fund, Inc.,
                                          Common Cause, and the Lower Muskogee
                                          Creek


/s/ Pichaya Poy Winichakul                /s/ Leah C. Aden
Bradley E. Heard (Bar No. 342209)         Leah C. Aden*
bradley.heard@splcenter.org               laden@naacpldf.org
Pichaya Poy Winichakul (Bar 246858)       Alaizah Koorji*
poy.winichakul@splcenter.org              akoorji@naacpldf.org
Nancy G. Abudu (Bar 001471)               John S. Cusick*
nancy.abudu@splcenter.org                 jcusick@naacpldf.org
Matletha N. Bennette*                     NAACP LEGAL DEFENSE AND
matletha.bennette@splcenter.org           EDUCATIONAL FUND, INC.
                                          40 Rector Street, 5th Floor

                                      3
      Case 1:21-mi-55555-JPB Document 548 Filed 05/17/23 Page 4 of 7




SOUTHERN POVERTY                            New York, New York 10006
LAW CENTER                                  Telephone: (212) 965-2200
150 E. Ponce de Leon Ave., Suite 340        Facsimile: (212) 226-7592
Decatur, Georgia 30031-1287
Telephone: (404) 521-6700                   Anuja Thatte*
Facsimile: (404) 221-5857                   athatte@naacpldf.org
                                            NAACP LEGAL DEFENSE AND
Jess Unger*                                 EDUCATION FUND, INC.
jess.unger@splcenter.org                    700 14th Street, NW
Sabrina S. Khan*                            Washington, DC 20005
sabrina.khan@splcenter.org                  Telephone: (202) 682-1300
SOUTHERN POVERTY
LAW CENTER                                  /s/ Debo P. Adegbile
1101 17th Street NW, Suite 705              Debo P. Adegbile*
Washington, DC 20036                        debo.adegbile@wilmerhale.com
Telephone: (202) 728-9557                   Alexandra Hiatt*
                                            alexandra.hiatt@wilmerhale.com
/s/ Adam S. Sieff                           WILMER CUTLER PICKERING
Adam S. Sieff*                              HALE AND DORR LLP
adamsieff@dwt.com                           250 Greenwich Street
Daniel Leigh**                              New York, New York 10007
danielleigh@dwt.com                         Telephone: (212) 230-8800
Brittni A. Hamilton*                        Facsimile: (212) 230-8888
brittnihamilton@dwt.com
DAVIS WRIGHT TREMAINE LLP                   George P. Varghese*
865 South Figueroa Street, 24th Floor       george.varghese@wilmerhale.com
Los Angeles, California 90017-2566          Stephanie Lin*
Telephone: (213) 633-6800                   stephanie.lin@wilmerhale.com
Facsimile: (213) 633-6899                   Arjun K. Jaikumar*
                                            arjun.jaikumar@wilmerhale.com
Matthew R. Jedreski*                        Mikayla C. Foster*
mjedreski@dwt.com                           mikayla.foster@wilmerhale.com
Grace Thompson*                             Sofia C. Brooks*
gracethompson@dwt.com                       sofie.brooks@wilmerhale.com
Danielle E. Kim*                            WILMER CUTLER PICKERING
daniellekim@dwt.com                         HALE AND DORR LLP
Kate Kennedy*                               60 State Street
katekennedy@dwt.com                         Boston, Massachusetts 02109
Shontee Pant*                               Telephone: (617) 526-6000
ShonteePant@dwt.com                         Facsimile: (617) 526-5000

                                        4
      Case 1:21-mi-55555-JPB Document 548 Filed 05/17/23 Page 5 of 7




DAVIS WRIGHT TREMAINE LLP
920 Fifth Avenue, Suite 3300               Tania C. Faransso*
Seattle, Washington 98104-1610             tania.faransso@wilmerhale.com
Telephone: (206) 622-3150                  WILMER CUTLER PICKERING
Facsimile: (206) 757-7700                  HALE AND DORR LLP
                                           1875 Pennsylvania Ave. NW
David M. Gossett*                          Washington, D.C. 20006
davidgossett@dwt.com                       Telephone: (202) 663-6000
Courtney DeThomas*                         Facsimile: (202) 663-6363
courtneydethomas@dwt.com
DAVIS WRIGHT TREMAINE LLP                  Nana Wilberforce*
1301 K Street NW, Suite 500                nana.wilberforce@wilmerhale.com
Washington, D.C. 20005-7048                WILMER CUTLER PICKERING
Telephone: (202) 973-4288                  HALE AND DORR LLP
Facsimile: (202) 973-4499                  350 South Grand Avenue, Suite 2400
                                           Los Angeles, California 90071
Attorneys for Plaintiffs Georgia           Telephone: (213) 443-5300
Muslim Voter Project, Women Watch          Facsimile: (213) 443-5400
Afrika, Latino Community Fund
Georgia, and The Arc of the United         /s/ Sophia Lin Lakin
States                                     Sophia Lin Lakin*
                                           slakin@aclu.org
*Admitted pro hac vice                     Davin M. Rosborough*
**Application to be admitted pro hac       drosborough@aclu.org
vice forthcoming                           Jonathan Topaz*
                                           jtopaz@aclu.org
                                           Dayton Campbell-Harris*
                                           dcampbell-harris@aclu.org
                                           ACLU FOUNDATION
                                           125 Broad Street, 18th Floor
                                           New York, New York 10004
                                           Telephone: (212) 519-7836
                                           Facsimile: (212) 549-2539

                                           Susan P. Mizner*
                                           smizner@aclu.org
                                           ACLU FOUNDATION, INC.
                                           39 Drumm Street
                                           San Francisco, CA 94111
                                           Telephone: (415) 343-0781

                                       5
Case 1:21-mi-55555-JPB Document 548 Filed 05/17/23 Page 6 of 7




                                  Brian Dimmick*
                                  bdimmick@aclu.org
                                  ACLU FOUNDATION, INC.
                                  915 15th Street NW
                                  Washington, D.C. 20005
                                  Telephone: (202) 731-2395

                                  /s/ Rahul Garabadu
                                  Rahul Garabadu (Bar 553777)
                                  rgarabadu@acluga.org
                                  Caitlin May (Bar 602081)
                                  cmay@acluga.org
                                  Cory Isaacson (Bar 983797)
                                  cisaacson@acluga.org
                                  ACLU FOUNDATION OF GEORGIA, INC.
                                  P.O. Box 570738
                                  Atlanta, Georgia 30357
                                  Telephone: (678) 981-5295
                                  Facsimile: (770) 303-0060

                                  Attorneys for Plaintiffs
                                  Sixth District of the African Methodist
                                  Episcopal Church, Delta Sigma Theta
                                  Sorority, Georgia ADAPT, Georgia Advocacy
                                  Office, and Southern Christian Leadership
                                  Conference




                              6
        Case 1:21-mi-55555-JPB Document 548 Filed 05/17/23 Page 7 of 7




                       CERTIFICATE OF COMPLIANCE


      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of L.R. 5.1, using font type of Times

New Roman and a font size of 14.



Dated: May 17, 2023                                   /s/ Laurence F. Pulgram
                                                      Laurence F. Pulgram
                                                      Counsel for Plaintiffs



                          CERTIFICATE OF SERVICE


      I hereby certify that on May 17, 2023, I electronically filed this document with

the Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing to the attorneys of record.


Dated: May 17, 2023                                   /s/ Laurence F. Pulgram
                                                      Laurence F. Pulgram
                                                      Counsel for Plaintiffs




                                           7
